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CaSe 05-34927 Filed 02/15/06 DOC 43

 

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UNWEDSTATESBANKRUPTCYCOURT
EASTERN DISTR!CT OF CAL|FORN!A

 

 

 

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
In re Case No. 05-34927-€-7

EDWARD LATIN and
NANCY E. LATIN,

MC NO. PGM-l
MC NO. PGM-Z
MC NO. PGM-3

Debtors. MC No. PGM-4

\./VVV`/VV

 

FINDINGS OF FACT AND CONCLUSIONS OF LAW
ON MDTION TO AVOID LIEN

These findings of fact and conclusions of law are
rendered in this contested matter pursuant to Federal Rule of
Civil Procedure 52 as incorporated by Federal Rules of
Bankruptcy Procedure 7052 and 9014. Evidence was taken
pursuant to Federal Rule of Civil Procedure 43(e), as
incorporated by Federal Rule of Bankruptcy Procedure 9017 and

as invoked by Local Bankruptcy Rule 9014(e).

Jurisdiction
Jurisdiction is founded upon 28 U.S.C. § 1334. This is

a core proceeding. 28 U.S.C. § 157(b)(2)(K).

 

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Findings of Fact
On January ll, 2006, the debtors filed a motion

requesting that this court avoid judgment liens in favor of
Hardy, Erich, Brown & Wilson, Patricia Lonon, Union Bank of
California, and Alan Kropp & Associates ("the creditors")
because the lien impairs the debtors' personal property
exemptions. Debtors listed no ownership interest in any real
property on their bankruptcy schedules. A hearing was
scheduled for February 14, 2006, to consider the motion. Upon
review of the record, the court decided to submit the matter on

the record presented and removed the matter from calendar.

Conclusions of Law

A debtor may avoid the fixing of a lien on an interest
of the debtor in property to the extent that the lien impairs
an exemption that is properly claimed and to which there is no
objection. ll U.S.C. § 522(f)(l).

Under California law, to place a lien on a judgment
debtor’s personal property, the judgment creditor must file a
Notice of Judgment Lien with the California Secretary of
State’s Office. Cal. Civ. Proc. Code §§ 697.510-697.670.

Here, the judgment creditors recorded abstracts of
judgments with the Sacramento County Recorder’s office. Such
action is necessary to place a lien on a judgment debtor’s
interest in real property. Here, debtors’ schedules do not
show that they have an ownership interest in any real property.

Further, the debtors’ motions do not indicate that the judgment

 

 

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creditors filed Notices of Judgment Liens with the Secretary of7
State’s office. Because such Notice is necessary to create a
lien on the debtors' personal property, the judgment creditors
lack a lien on debtors' personal property and thus the debtors'
personal property exemptions cannot be impaired.

Because the debtors' personal property exemptions are
not impaired, the debtors' motions will be denied as

unnecessary. An appropriate order will issue.

Dated: February 15, 2006

 

uNITEB)Ks/TATES BANKRUPTCY JUDGE

 

 

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CERTIFICATE OF SERVICE

On the date indicated below, l served a true and
correct copy(ies) of the attached document by placing said

copy(ies) in a postage paid envelope addressed to the person(s)

hereinafter listed and by depositing said envelope in the
United States mail or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk's Office.

Edward & Nancy Latin
2140 Gold Coin Ct.
Gold River, CA 95670~8149

Peter G. Macaluso
910 Florin Rd. #lll
Sacramento, CA 95831-5259

Michael F. Burkart
5150 Fair Oaks Blvd. #101-185
Carmichael, CA 95608

Office of the U.S. Trustee
501 l St., Ste. 7-500
Sacramento, CA 95814

Dated: 'Z/\"Ll) D(?

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